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                          IN THE UNITED STATES DISTRICT COURT
 7
                               FOR THE DISTRICT OF ARIZONA
 8
 9   Debra Hackbarth;                              Case No.: 2:15-cv-00352-SRB
10
                 Plaintiff,
11                                                 ORDER
     v.
12
13   Aviant Healthcare LLC, et al,
14
                 Defendants.
15
            The court having reviewed the joint motion for approval of the settlement reached
16
17   by the parties in this matter finds that the proposed settlement terms represent a fair and

18   equitable resolution of this action. For these reasons, the Court hereby approves the
19
     settlement terms as set forth in settlement agreement filed with the court as well as the
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     terms of the stipulated judgment. Plaintiff may file and execute upon the judgment only
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22   upon a showing of default as defined by the settlement agreement. (Doc. 64)
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24                 Dated this 4th day of January, 2016.

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